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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

DANIEL S. FLETCHER,

        Plaintiff,

v.                                                             Case No: 8:16-cv-1355-T-36AAS

WELLS FARGO BANK, N.A.,

      Defendant.
___________________________________/

                                           ORDER

        Before the Court is the Joint Stipulation of Dismissal with Prejudice (Doc. 18). In accord

with the Joint Stipulation of Dismissal with Prejudice, it is ORDERED AND ADJUDGED as

follows:

        1)      The Joint Stipulation of Dismissal with Prejudice is APPROVED (Doc. 18).

        2)      This cause is dismissed, with prejudice. Each party shall bear its own costs and

attorneys’ fees.

        3)      The Clerk is directed to terminate any pending motions and deadlines and CLOSE

this case.

        DONE AND ORDERED in Tampa, Florida on November 18, 2016.




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Counsel of Record
